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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION__

UNITED STATES OF AMERICA     §
                             §
VS.                          §                CR NO.3:04-CR-240-G
                             §
HOLY LAND FOUNDATION         §
FOR RELIEF AND DEVELOPMENT, §
     also known as the “HLF” §
SHUKRI ABU BAKER,            §                       ECF
MOHAMMED EL-MEZAIN,          §
GHASSAN ELASHI,              §
MUFID ABDULQADER, and        §
ABDULRAHMAN ODEH             §


                GOVERNMENT'S REQUESTED JURY INSTRUCTIONS

       The government respectfully submits the attached Government's Requested Jury

Instructions.

                                       Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on May 21, 2007, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic

filing to the following:


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                                             1.04

      COURT'S INSTRUCTIONS TO THE JURY AT CONCLUSION OF TRIAL


Members of the Jury:

       In any jury trial there are, in effect, two judges, I am one of the judges; the other is

the jury. It is my duty to preside over the trial and to decide what evidence is proper for

your consideration. It is also my duty at the end of the trial to explain to you the rules of

law that you must follow and apply in arriving at your verdict.

       First, I will give you some general instructions which apply in every case, for

example, instructions about burden of proof and how to judge the believability of

witnesses. Then I will give you some specific rules of law about this particular case, and

finally I will explain to you the procedures you should follow in your deliberations.




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                                      1.05
                          DUTY TO FOLLOW INSTRUCTIONS

       You, as jurors, are the judges of the facts. But in determining what actually

happened--that is, in reaching your decision as to the facts--it is your sworn duty to follow

all of the rules of law as I explain them to you.

       You have no right to disregard or give special attention to any one instruction, or

to question the wisdom or correctness of any rule I may state to you. You must not

substitute or follow your own notion or opinion as to what the law is or ought to be. It is

your duty to apply the law as I explain it to you, regardless of the consequences.

       It is also your duty to base your verdict solely upon the evidence, without prejudice

or sympathy. That was the promise you made and the oath you took before being

accepted by the parties as jurors, and they have the right to expect nothing less.




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                                    1.06
                         PRESUMPTION OF INNOCENCE,
                     BURDEN OF PROOF, REASONABLE DOUBT


       The indictment or formal charge against a defendant is not evidence of guilt.

Indeed, the defendant is presumed by the law to be innocent. The law does not require a

defendant to prove his innocence or produce any evidence at all [and no inference

whatever may be drawn from the election of a defendant not to testify]. The government

has the burden of proving the defendant guilty beyond a reasonable doubt, and if it fails to

do so, you must acquit the defendant.

       While the government's burden of proof is a strict or heavy burden, it is not

necessary that the defendant's guilt be proved beyond all possible doubt. It is only

required that the government's proof exclude any "reasonable doubt" concerning the

defendant's guilt.

       A "reasonable doubt" is a doubt based upon reason and common sense after

careful and impartial consideration of all the evidence in the case. Proof beyond a

reasonable doubt, therefore, is proof of such a convincing character that you would be

willing to rely and act upon it without hesitation in the most important of your own

affairs. If you are convinced that the accused has been proved guilty beyond a reasonable

doubt, say so. If you are not convinced, say so.




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                              1.07
                          EVIDENCE
      EXCLUDING ARGUMENT OF COUNSEL AND COMMENT OF COURT

       As I told you earlier, it is your duty to determine the facts. In doing so, you must

consider only the evidence presented during the trial, including the sworn testimony of the

witnesses and the exhibits. Remember that any statements, objections, or arguments

made by the lawyers are not evidence. The function of the lawyers is to point out those

things that are most significant or most helpful to their side of the case, and in so doing to

call your attention to certain facts or inferences that might otherwise escape your notice.

In the final analysis, however, it is your own recollection and interpretation of the

evidence that controls in the case. What the lawyers say is not binding upon you.

       Also, do not assume from anything I may have done or said during the trial that I

have any opinion concerning any of the issues in this case. Except for the instructions to

you on the law, you should disregard anything I may have said during the trial in arriving

at your own findings as to the facts.




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                                            1.08
          EVIDENCE -- INFERENCES            DIRECT AND CIRCUMSTANTIAL


       While you should consider only the evidence, you are permitted to draw such

reasonable inferences from the testimony and exhibits as you feel are justified in the light

of common experience. In other words, you may make deductions and reach conclusions

that reason and common sense lead you to draw from the facts which have been

established by the evidence.

       In considering the evidence you may make deductions and reach conclusions

which reason and common sense lead you to make; and you should not be concerned

about whether the evidence is direct or circumstantial. "Direct evidence" is the testimony

of one who asserts actual knowledge of a fact, such as an eye witness. "Circumstantial

evidence" is proof of a chain of facts and circumstances indicating that the defendant is

either guilty or not guilty. The law makes no distinction between the weight you may

give to either direct or circumstantial evidence.




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                                        1.09
                             CREDIBILITY OF WITNESSES

       I remind you that it is your job to decide whether the government has proved the

guilt of the defendant beyond a reasonable doubt. In doing so, you must consider all of

the evidence. This does not mean, however, that you must accept all of the evidence as

true or accurate.

       You are the sole judges of the credibility or "believability" of each witness and the

weight to be given the witness's testimony. An important part of your job will be making

judgments about the testimony of the witnesses [including the defendant] who testified in

this case. You should decide whether you believe what each person had to say, and how

important that testimony was. In making that decision I suggest that you ask yourself a

few questions: Did the person impress you as honest? Did the witness have any

particular reason not to tell the truth? Did the witness have a personal interest in the

outcome of the case? Did the witness have any relationship with either the government or

the defense? Did the witness seem to have a good memory? Did the witness have the

opportunity and ability to understand the questions clearly and answer them directly? Did

the witness's testimony differ from the testimony of other witnesses? These are a few of

the considerations that will help you determine the accuracy of what each witness said.

       In making up your mind and reaching a verdict, do not make any decisions simply

because there were more witnesses on one side than on the other. Do not reach a

conclusion on a particular point just because there were more witnesses testifying for one

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side on that point. Your job is to think about the testimony of each witness you have

heard and decide how much you believe of what each witness had to say.




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                                   1.11
                   IMPEACHMENT BY PRIOR INCONSISTENCIES


       The testimony of a witness may be discredited by showing that the witness testified

falsely concerning a material matter, or by evidence that at some other time the witness

said or did something, or failed to say or do something, which is inconsistent with the

testimony the witness gave at this trial.

       Earlier statements of a witness were not admitted in evidence to prove that the

contents of those statements are true. You may consider the earlier statements only to

determine whether you think they are consistent or inconsistent with the trial testimony of

the witness and therefore whether they affect the credibility of that witness.

       If you believe that a witness has been discredited in this manner, it is your

exclusive right to give the testimony of that witness whatever weight you think it

deserves. I remind you that a defendant has the right not to testify. When the defendant

does testify, however, his testimony should be weighed and his credibility evaluated in the

same way as that of any other witness.




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                                            1.14

                       ACCOMPLICE--INFORMER--IMMUNITY

       The testimony of an alleged accomplice, and the testimony of one who provides

evidence against a defendant as an informer for pay or for immunity from punishment or

for personal advantage or vindication, must always be examined and weighed by the jury

with greater care and caution than the testimony of ordinary witnesses. You, the jury,

must decide whether the witness's testimony has been affected by any of those

circumstances, or by the witness's interest in the outcome of the case, or by prejudice

against the defendant, or by the benefits that the witness has received either financially or

as a result of being immunized from prosecution. You should keep in mind that such

testimony is always to be received with caution and weighed with great care. You should

never convict any defendant upon the unsupported testimony of such a witness unless you

believe that testimony beyond a reasonable doubt.




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                                             1.17

                                    EXPERT WITNESS




        During the trial you heard the testimony of                            who has

expressed opinions concerning                                     . If scientific, technical, or

other specialized knowledge might assist the jury in understanding the evidence or in

determining a fact in issue, a witness qualified by knowledge, skill, experience, training, or

education may testify and state an opinion concerning such matters.

        Merely because such a witness has expressed an opinion does not mean, however,

that you must accept this opinion. You should judge such testimony like any other

testimony. You may accept it or reject it, and give it as much weight as you think it

deserves, considering the witness's education and experience, the soundness of the reasons

given for the opinion, and all other evidence in the case.




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                                           1.19

                                     ON OR ABOUT




       You will note that the indictment charges that the offenses were committed on or

about a specified date. The government does not have to prove that the crime was

committed on that exact date, so long as the government proves beyond a reasonable doubt

that the defendant committed the crime on a date reasonably near the date stated in the

indictment.




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                                             1.20

                   CAUTION--CONSIDER ONLY CRIME CHARGED




        You are here to decide whether the government has proved beyond a reasonable

doubt that defendant is guilty of the crime charged. The defendant is not on trial for any

act, conduct, or offense not alleged in the indictment. Neither are you concerned with the

guilt of any other person or persons not on trial as a defendant in this case.




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                                          1.21

                               CAUTION--PUNISHMENT




       If a defendant is found guilty, it will be my duty to decide what the punishment

will be. You should not be concerned with punishment in any way. It should not enter

your consideration or discussion.




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                                  1.23
                  MULTIPLE DEFENDANTS--MULTIPLE COUNTS

       A separate crime is charged against one or more of the defendants in each count of

the indictment. Each count, and the evidence pertaining to it, should be considered

separately. The case of each defendant should be considered separately and individually.

The fact that you may find one or more of the accused guilty or not guilty of any of the

crimes charged should not control your verdict as to any other crime or any other

defendant. You must give separate consideration to the evidence as to each defendant.




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                                     1.24
                      DUTY TO DELIBERATE--VERDICT FORM

        To reach a verdict, whether it is guilty or not guilty, all of you must agree. Your

verdict must be unanimous on each count of the indictment. Your deliberations will be

secret. You will never have to explain your verdict to anyone.

        It is your duty to consult with one another and to deliberate in an effort to reach

agreement if you can do so. Each of you must decide the case for yourself, but only after

an impartial consideration of the evidence with your fellow jurors. During your

deliberations, do not hesitate to reexamine your own opinions and change your mind if

convinced that you were wrong. But do not give up your honest beliefs as to the weight or

effect of the evidence solely because of the opinion of your fellow jurors, or for the mere

purpose of returning a verdict.

        Remember at all times, you are judges--judges of the facts. Your duty is to decide

whether the government has proved the defendant guilty beyond a reasonable doubt .

        When you go to the jury room, the first thing that you should do is select one of

your number as your foreperson, who will help to guide your deliberations and will speak

for you here in the courtroom. A form of verdict has been prepared for your convenience.

                         [Explain verdict form.]

        The foreperson will write the unanimous answer of the jury in the space provided

for each count of the indictment, either guilty or not guilty. At the conclusion of your

deliberations, the foreperson should date and sign the verdict.

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        If you need to communicate with me during your deliberations, the foreperson

should write the message and give it to the marshal. I will either reply in writing or bring

you back into the court to answer your message.

        Bear in mind that you are never to reveal to any person, not even to the court, how

the jury stands, numerically or otherwise, on any count of the indictment, until after you

have reached a unanimous verdict.




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                                       1.35
                                "KNOWINGLY" - TO ACT


        The word "knowingly," as that term has been used from time to time in these

instructions, means that the act was done voluntarily and intentionally, not because of

mistake or accident.

        You may find that a defendant had knowledge of a fact if you find that the

defendant deliberately closed his eyes to what would otherwise have been obvious to him.

While knowledge on the part of the defendant cannot be established merely by

demonstrating that the defendant was negligent, careless, or foolish, knowledge can be

inferred if the defendant deliberately blinded himself to the existence of a fact.




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                                             2.06

                          AIDING AND ABETTING (AGENCY)

                                       (18-U.S.C. § 2)

        The guilt of a defendant in a criminal case may be established without proof that

the defendant personally did every act constituting the offense alleged. The law

recognizes that, ordinarily, anything a person can do for himself may also be accomplished

by that person through direction of another person as his or her agent, or by acting in

concert with, or under the direction of, another person or persons in a joint effort or

enterprise.

        So, if another person is acting under the direction of the defendant or if the

defendant joins another person and performs acts with the intent to commit a crime, then

the law holds the defendant responsible for the acts and conduct of such other persons just

as though the defendant had committed the acts or engaged in such conduct.

        Notice, however, that before any defendant may be held criminally responsible for

the acts of others it is necessary that the accused deliberately associate himself in some

way with the crime and participate in it with the intent to bring about the crime.

        Of course, mere presence at the scene of a crime and knowledge that a crime is

being committed are not sufficient to establish that a defendant either directed or aided and

abetted the crime unless you find beyond a reasonable doubt that the defendant was a

participant and not merely a knowing spectator.



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       In other words, you may not find any defendant guilty unless you find beyond a

reasonable doubt that every element of the offense as defined in these instructions was

committed by some person or persons, and that the defendant voluntarily participated in its

commission with the intent to violate the laws.




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                                           1.43

            SUMMARIES AND CHARTS NOT RECEIVED IN EVIDENCE




       Certain charts and summaries have been shown to you solely to help explain the

facts disclosed by the books, records, and other documents which are in evidence in the

case. These charts and summaries are not evidence or proof of any facts. You should

determine the facts from the evidence.




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                                            1.44

               SUMMARIES AND CHARTS RECEIVED IN EVIDENCE




        Certain charts and summaries have been received into evidence. Charts and

summaries are valid only to the extent that they accurately reflect the underlying

supporting evidence. You should give them only such weight as you think they deserve.




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                                   Conspiracy Generally

        Four of the counts in the indictment charge certain of the defendants with

conspiracy to commit a crime. Before I instruct you in detail on the specific elements of

each of the crimes charged in the indictment, I want to first instruct you on the law of

conspiracy in general.

        A "conspiracy" is an agreement between two or more persons to join together to

accomplish some unlawful purpose. It is a kind of "partnership in crime" in which each

member becomes the agent of every other member. The crime of conspiracy is an

independent offense. It is separate and distinct from the actual violation of any specific

laws, which the law refers to as “substantive crimes.”

        Generally speaking, and unless I tell you otherwise, the government must establish,

beyond a reasonable doubt, each of the following elements in order to convict a defendant

of one of the conspiracies charged in this indictment:

        First: That the specific conspiracy existed, that is, that there was an
        agreement between two or more persons to engage in conduct that violates
        federal criminal law, as alleged in the particular count of the indictment;

        Second: That the defendant in question knew the purpose of the agreement
        and joined in it willfully, that is, with the intent to further the unlawful
        purpose; and

        Third: That one of the conspirators during the existence of the conspiracy
        knowingly committed at least one of the overt acts described in the
        indictment in order to accomplish some object or purpose of the conspiracy

        One may become a member of a conspiracy without knowing all the details of the



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unlawful scheme or the identities of all the other alleged conspirators. If a defendant

understands the unlawful nature of a plan or scheme and knowingly and intentionally joins

in that plan or scheme on one occasion, that is sufficient to convict him for conspiracy

even though the defendant had not participated before and even though the defendant

played only a minor part.

        The government need not prove that the alleged conspirators entered into any

formal agreement, nor that they directly stated between themselves all the details of the

scheme. Similarly, the government need not prove that all of the details of the scheme

alleged in the indictment were actually agreed upon or carried out. Nor must it prove that

all of the persons alleged to have been members of the conspiracy were such, or that the

alleged conspirators actually succeeded in accomplishing their unlawful objectives.

        Mere presence at the scene of an event, even with knowledge that a crime is being

committed, or the mere fact that certain persons may have associated with each other, and

may have assembled together and discussed common aims and interests, does not

necessarily establish proof of the existence of a conspiracy. Also, a person who has no

knowledge of a conspiracy, but who happens to act in a way which advances some purpose

of a conspiracy, does not thereby become a conspirator.

                                            Note

       The Committee deleted as superfluous the definition of "overt act" contained in the
previous Fifth Circuit Criminal Pattern Jury Instructions. The citation to 18 U.S.C. § 371
should be changed as appropriate.



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         Conspiracy to commit a particular substantive offense requires at least the degree
of criminal intent necessary to commit the substantive offense itself. United States v.
Bordelon, 871 F.2d 491 (5th Cir. 1989(, cert. denied, U.S. , 110 S. Ct. 121, 107
L.Ed.2d 82 (1989); United States v. Massey, 827 F.2d 995, 1001 (5th Cir. 1987). Because
"[t]he two states of mind are almost always one, or tend to collapse into one," United
States v. Chaqra, 807 F.2d 398, 401 (5th Cir. 1986), cert. denied, 484 U.S. 832, 108 S. Ct.
106, 98 L.Ed.2d 66 (1987), the proposed instruction will adequately cover the vast
majority of cases. The proposed instruction also adequately addresses the requirement of a
specific intent to violate the law, required for conviction in all controlled substances
conspiracies. United States v. Burroughs, 876 F.2d 366 (5th Cir. 1989). If the substantive
offense requires "a special state of mind (such as malice aforethought or premeditation),"
further instruction on intent would be necessary. United States v. Thomas, 768 F.2d 611,
618 n.5 (5th Cir. 1985); United States v. Harrelson, 754 F.2d 1153, 1171-74 (5th Cir.),
rehearing denied, 766 F.2d 186 (5th Cir. 1985), cert. denied, 474 U.S. 908, 106 S. Ct. 277,
88 L.Ed.2d 241 (1985).




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                                            2.23

              CONSPIRATOR'S LIABILITY FOR SUBSTANTIVE COUNT

        A conspirator is responsible for offenses committed by [an]other conspirator[s] if

the conspirator was a member of the conspiracy when the offense was committed and if

the offense was committed in furtherance of, or as a foreseeable consequence of, the

conspiracy.

        Therefore, if you have first found a defendant guilty of the conspiracy charged in

Count 1 and if you find beyond a reasonable doubt that during the time the defendant was

a member of that conspiracy, [an]other conspirator[s] committed the offense[s] in Count[s]

2 through 12 in furtherance of or as a foreseeable consequence of that conspiracy, then you

may find the defendant guilty of Count[s] 2 through 12, even though the defendant may

not have participated in any of the acts that constitute the offense[s] described in Count[s]

2 through 12.

                                            Note
        This instruction charges the jury on the Pinkerton principle. Pinkerton v. United
States, 328 U.S. 640, 647-48, 66 S. Ct. 1180, 1184, 90 L.Ed. 1489 (1946). It is derived
from instructions quoted with approval in United States v. Basey, 816 F.2d 980, 998-99
n.35-36 (5th Cir. 1987). See also United States v. Raborn, 872 F.2d 589 (5th Cir. 1989);
United States v. Acosta, 763 F.2d 671, 681-682 (5th Cir. 1985) cert. denied sub nom.,
Weempe v. United States, 474 U.S. 863, 106 > Ct. 179, 88 L.Ed.2d 148 (1985).




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                       Count 1: The Nature of the Offense Charged

               (Conspiracy to Provide Material Support and Resources to a
                  Designated Foreign Terrorist Organization (Hamas))
                                (18 U.S.C. § 2339B(a)(1))

       Each of the defendants is charged in Count 1 with the offense of conspiracy to

provide material support and resources to a Designated Foreign Terrorist Organization, to

wit; Hamas, in violation of Title 18, United States Code, Section 2339B(a)(1). In pertinent

part, Count 1 reads as follows:

       Beginning from on or about October 8, 1997, and continuing until the date of the

Indictment, in the Dallas Division of the Northern District of Texas and elsewhere, the

defendants Holy Land Foundation for Relief and Development (HLF), Shukri Abu Baker,

Mohammad El-Mezain, Ghassan Elashi, Haitham Maghawri, Akram Mishal, Mufid

Abdulqader and Abdulrahman Odeh, and others known and unknown to the Grand Jury,

knowingly conspired to provide material support and resources, as those terms are defined

in Title 18, United States Code, Section 2339A(b), to wit, currency and monetary

instruments, to HAMAS, a designated Foreign Terrorist Organization, in violation of Title

18, United States Code, Section 2339B(a)(1).




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                        Count 1: The Statute Defining the Offense Charged

                (Conspiracy to Provide Material Support and Resources to a
                   Designated Foreign Terrorist Organization (Hamas))
                                 (18 U.S.C. § 2339B(a)(1))

Title 18, United States Code, Section 2339B, provides in relevant part that:

        Whoever knowingly provides material support or resources to a foreign terrorist

        organization, or attempts or conspires to do so,

is guilty of a crime.




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                         Count 1: Essential Elements of the Offense

                (Conspiracy to Provide Material Support and Resources to a
                   Designated Foreign Terrorist Organization (Hamas))


        In order to find a defendant guilty of the offense, you must find each of the

following elements beyond a reasonable doubt:

        First, that two or more persons agreed to provide material support or resources to a

foreign terrorist organization;

        Second, that the defendant knowingly became a member of the conspiracy with the

intent to further its purpose;

        Third, that the charged conspiracy existed on or after April 24, 1996, the date the

statute was enacted, and that the defendant was a member of the conspiracy on or after that

date; and

        Fourth, that this court has jurisdiction over the offense.




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                  Count 1: Definition of “Material Support or Resources”

               (Conspiracy to Provide Material Support and Resources to a
                  Designated Foreign Terrorist Organization (Hamas))

        The first element you must find is that two or more persons agreed to provide

material support or resources. For the purpose of this element, “material support or

resource” means any property, tangible or intangible, or service, including the provision of

currency or monetary instruments or financial securities, financial services, lodging,

training, expert advice or assistance, safehouses, false documentation or identification,

communications equipment, facilities, weapons, lethal substances, explosives, personnel,

transportation or other physical assets.

        The term “personnel” may include the defendant’s own person. The defendant can

be convicted for a violation of this statute in connection with providing personnel if you

find that he has knowingly provided or conspired to provide a foreign terrorist

organization with one or more individuals, which may include himself, to work under that

terrorists organization’s direction or control or to organize, manage, supervise or otherwise

direct the operation of that organization. Individuals who act entirely independently of the

foreign terrorist organization to advance its goals or objectives shall not be considered to

be working under the foreign terrorists organization’s direction and control.

        If you should find beyond a reasonable doubt that a defendant provided support or

resources in any of these forms, the government’s burden of proof with respect to the first

element has been met.

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(18 U.S.C. §§ 2339A and 2339B, as amended by the Intelligence Reform and Terrorism
Prevention Act of 2004, Pub. L. 108-458, 118 Stat. 3638 (Dec. 17, 2004); United States v.
Lindh, 212 F.Supp.2d 541, 577 (E.D. Va. 2002); United States v. Goba, 220 F.Supp.2d
182, 194 (W.D.N.Y. 2002)




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                   Count 1: Definition of “Foreign Terrorist Organization”

                 (Conspiracy to Provide Material Support and Resources to a
                    Designated Foreign Terrorist Organization (Hamas))


        You also must find that there was an agreement to provide material support or

resources to a foreign terrorist organization. A foreign terrorist organization has a

particular meaning under this statute. In order for an organization to qualify as a “foreign

terrorist organization,” it must have been designated as such by the Secretary of State

through a process established by law. I instruct you that Hamas has been so designated by

the Secretary of State and was so designated by the Secretary throughout the period

covered by the indictment. Consequently, if you find beyond a reasonable doubt that a

defendant conspired to provide any of the types of “material support” I have just

enumerated to Hamas or furnished it to any person acting on behalf of Hamas sometime

between January 25, 1995 until September, 2001, the government’s burden with respect to

this element has been met.




(64 Fed. Reg. 55, 112; United States v. Khan, 309 F.Supp.2d 789, 820 (E.D. Va. 2004)



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                           Count 1: Definition of “Knowingly”

               (Conspiracy to Provide Material Support and Resources to a
                  Designated Foreign Terrorist Organization (Hamas))


       You must also find that when the defendant joined the conspiracy to provide

material support or resources to a designated terrorist organization, he did so “knowingly.”

In order to convict the defendant, you must conclude that, at the time the defendant

conspired to provided material support or resources in question, he knew that their

ultimate recipient was Hamas. Further, you must find beyond a reasonable doubt either

that the defendant knew that Hamas was designated by the United States government as a

foreign terrorist organization or that he knew that the organization has engaged in or

engages in terrorist activity. Therefore, if you are able to conclude beyond a reasonable

doubt that the defendant had specific knowledge that the organization to which he

provided support had been designated a foreign terrorist organization by the United States

government or that it engaged or engages in terrorist acts of the type I have previously

enumerated, the government has satisfied its burden of proof as to this requirement.




(Humanitarian Law Project v. Dep’t of Justice, 353 F.3d 382, 400 (9 th Cir. 2003), vacated
in part on other grounds, 393 F.3d 902, (9 th Cir. 2004).




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                            Count 1: Jurisdictional Requirement

               (Conspiracy to Provide Material Support and Resources to a
                  Designated Foreign Terrorist Organization (Hamas))

        Finally, you must find beyond a reasonable doubt that this Court has jurisdiction

over the offense charged in Count One. This Court has jurisdiction if the defendant is a

national of the United States as defined by the Immigration and Nationality Act. A United

States citizen is considered a “national” of the United States for purposes of this statute.




(18 U.S.C. § 2339B(d)(1)(A); 8 U.S.C. § 1101(a)(22))




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                 Counts 2 through 12: The Nature of the Charged Offense

                       (Providing Material Support or Resources to
                       A Designated Foreign Terrorist Organization
                          18 United States Code § 2339B(a)(1))


       Counts 2 through 12 of the Indictment charges the defendants with knowingly

providing and attempting to provide, on the dates and in the amounts specified, material

support and resources, namely currency and monetary instruments to HAMAS, a

designated foreign terrorist organization, by issuing and causing to be issued, wire

transfers from the HLF bank accounts to organizations operating on behalf of or controlled

by HAMAS. Count Two reads, in relevant part, as follows:

       On or about the dates [specified], for each count [specified], in the Dallas Division

of the Northern District of Texas and elsewhere, the defendants HLF, Shukri Abu Baker,

Mohammad El-Mezain, Ghassan Elashi, Haitham Maghawri, Akram Mishal, Mufid

Abdulqader and Abdulrahman Odeh, aided and abetted by each other and others known

and unknown to the Grand Jury, did knowingly provide and attempt to provide material

support and resources, as those terms are defined in Title 18, United States Code, Section

2339A(b), to wit, currency and monetary instruments, to HAMAS, a designated Foreign

Terrorist Organization, by issuing and causing to be issued wire transfers in the amounts

indicated, from the defendant HLF bank accounts in the Northern District of Texas, to the

following organizations, which operated on behalf of, or under the control of, HAMAS: in

violation of Title 18 United States Code, § 2339B.

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   Count           Date          Amount               Organization

      2            8/18/98       $11,962              Ramallah Zakat Committee

      3            8/21/98       $24,211              Islamic Charity Society of Hebron

      4            12/31/98      $8,389               Jenin Zakat Committee

      5            5/21/99       $12,115              Ramallah Zakat Committee

      6            10/13/99      $25,000              Islamic Charity Society of Hebron

      7            12/10/99      $10,152              Jenin Zakat Committee

      8            12/30/99      $50,000              Dar El-Salam Hospital

      9            4/11/00       $10,711              Nablus Zakat Committee

      10           4/11/00       $7,417               Qalqilia Zakat Committee

      11           11/30/00      $50,000              Dar El-Salam Hospital

      12           1/17/01       $16,674              Nablus Zakat Committee




      In violation of Title 18, United States Code, Sections 2339B(a)(1) and 2.




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              Counts 2 through 12: The Statute Defining the Offense Charged

                     (Providing Material Support and Resources to a
                    Designated Foreign Terrorist Organization (Hamas))
                                (18 U.S.C. § 2339B(a)(1))

Title 18, United States Code, Section 2339B, provides in relevant part that:

        Whoever knowingly provides material support or resources to a foreign terrorist
        organization, or attempts to do so,


is guilty of a crime.




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                  Counts 2 through 12: Essential Elements of the Offense

                    (Providing Material Support and Resources to a
                   Designated Foreign Terrorist Organization (Hamas))


       In order to find a defendant guilty of the offense, you must find each of the

following elements beyond a reasonable doubt:

       First, that the defendant in question provided material support or resources to a
       foreign terrorist organization;

       Second, that the defendant in question did so knowingly; and

       Third, that this court has jurisdiction over the offense.

       The instructions that I read to you with regard to Count One also apply to Counts

Two through Twelve. The only difference is that while Count One charges each defendant

with conspiring or - agreeing with others - to provide material support or resources to

Hamas, Counts Two through Twelve charges each of the defendants with the actual

commission of the offense. The definitions I provided with regard to Count One for

“material support or resources,” “foreign terrorist organization,” the word “knowingly”

and “national of the United States’ apply equally to Counts Two through Twelve.

However, Counts One and Counts Two through Twelve are separate charges and must be

considered separately.




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                      Count 13: The Nature of the Offense Charged

                    (Conspiracy to Provide Funds, Goods and Services
                           to a Specially Designated Terrorist)
                      50 U.S.C. §§ 1701-1706, 31 C.F.R. § 595.201

       Each of the defendants is charged in Count 13 with the offense of conspiracy to

provide funds, goods and services to a Specially Designated Terrorist in violation of Title

50, United States Code, Sections 1701 through 1706 and Title 31, Code of Federal

Regulations Section 595.201. In pertinent part, Count 13 reads as follows:

       Beginning from on or about January 25, 1995, and continuing until the date of the

Indictment, in the Dallas Division of the Northern District of Texas and elsewhere, the

defendants HLF, Shukri Abu Baker, Mohammad El-Mezain, Ghassan Elashi, Haitham

Maghawri, Akram Mishal, Mufid Abdulqader and Abdulrahman Odeh, and others known

and unknown to the Grand Jury, knowingly and willfully conspired, confederated and

agreed to violate Executive Order 12947, by contributing funds, goods and services to, and

for the benefit of, a Specially Designated Terrorist, namely HAMAS, in violation of Title

50, United States Code, Sections 1701 through 1706, and Title 31, Code of Federal

Regulations, Section 595.201 et. seq.




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                   Count 13: The Statute Defining the Offense Charged

                    (Conspiracy to Provide Funds, Goods and Services
                           to a Specially Designated Terrorist)
                      50 U.S.C. §§ 1701-1706, 31 C.F.R. § 595.201

        On January 23, 1995, pursuant to the authorities vested in the President by the

International Emergency Economic Powers Act (IEEPA), President William J. Clinton

issued Executive Order 12947 finding “grave acts of violence committed by foreign

terrorists that disrupt the Middle East peace process constitute an unusual and

extraordinary threat to the national security, foreign policy, and economy of the United

States, and hereby declare a national emergency to deal with that threat.”

        Executive Order 12947 further specified that “any transaction or dealing by

United States persons or within the United States [with] . . . the persons designated in or

pursuant to this order is prohibited, including the making or receiving of any contribution

of funds, goods, or services to or for the benefit of such persons.” Section 1(b)

        Section 1705(b) (IEEPA) of Title 50, United States Code, provides:

               "whoever willfully violates any license, order or regulation

               issued under this title [is guilty of a crime.]"




        50 U.S.C. §§ 1701, 1702, 1705; Executive Order 12497.

        Pursuant to Executive Order 12947, the Secretary of the Treasury promulgated

regulations to give effect to the President’s Executive Order.       Those regulations include



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the following referenced regulations.

        Section 595.204 of Title 31 Code of Federal Regulations provides, “except as

otherwise authorized, no U.S. person may deal in property or interests in property of a

specially designated terrorist, including the making or receiving of any contribution of

funds, goods, or services to or for the benefit of a specially designated terrorist.”

        Section 595.205 of Title 31 Code of Federal Regulations provides, “any

transaction for the purpose of, or which has the effect of, evading or avoiding, or which

facilitates the evasion or avoidance of, any of the prohibitions set forth in this part, is

hereby prohibited. Any attempt to violate the prohibitions set forth in this part is hereby

prohibited. Any conspiracy formed for the purpose of engaging in a transaction prohibited

by this part is hereby prohibited.”

        Section 595.408 of Title 31 Code of Federal Regulations provides, “(a) Unless

otherwise specifically authorized by the Office of Foreign Assets Control by or pursuant to

this part, no charitable contribution or donation of funds, goods, services, or technology to

relieve human suffering, such as food, clothing or medicine, may be made to or for the

benefit of a specially designated terrorist. For purposes of this part, a contribution or

donation is made to or for the benefit of a specially designated terrorist if made to or in the

name of a specially designated terrorist; if made to or in the name of an entity or individual

acting for or on behalf of, or owned or controlled by, a specially designated terrorist; or if

made in an attempt to violate, to evade or to avoid the bar on the provision of contributions



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or donations to specially designated terrorists. (b) Individuals and organizations who

donate or contribute funds, goods, services or technology without knowledge or reason to

know that the donation or contribution is destined to or for the benefit of a specially

designated terrorist shall not be subject to penalties for such donation or contribution.

        Section 595.701(a)(2) provides that whoever willfully violates any license, order,

or regulation issued under the Act [is guilty of a crime].




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                       Count 13: Essential Elements of the Offense

                   (Conspiracy to Provide Funds, Goods and Services
                          to a Specially Designated Terrorist)
                     50 U.S.C. §§ 1701-1706, 31 C.F.R. § 595.201

       For you to find a defendant guilty of the conspiracy charged in Count 13 of the

indictment, you must be convinced that the government has proved each of the following

beyond a reasonable doubt:

       First: That two or more persons made an agreement to commit the crime

       of providing funds, goods or services to a Specially Designated Terrorist;

       Second: That the defendant knew the purpose of the agreement and joined

       in it willfully, that is, with the intent to further the unlawful purpose; and

       Third: That one of the conspirators during the existence of the conspiracy

       knowingly committed at least one overt act in order to accomplish some

       object or purpose of the conspiracy.




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        Specially Designated Terrorist defined.

        (a) The term specially designated terrorist means:

               (1) Persons listed in the Annex to Executive Order 12947;

               (2) Foreign persons designated by the Secretary of State, in coordination
               with the Secretary of the Treasury and the Attorney General, because they
               are found:

                       (i) To have committed, or to pose a significant risk of committing,
                       acts of violence that have the purpose or effect of disrupting the
                       Middle East peace process, or

                       (ii) To assist in, sponsor, or provide financial, material, or
                       technological support for, or services in support of, such acts of
                       violence; and

               (3) Persons determined by the Secretary of the Treasury, in coordination
               with the Secretary of State and the Attorney General, to be owned or
               controlled by, or to act for or on behalf of, any other specially designated
               terrorist.

        31 C.F.R. § 595.311

        Transfer defined.

        The term transfer means any actual or purported act or transaction, whether or not

evidenced by writing, and whether or not done or performed within the United States, the

purpose, intent, or effect of which is to create, surrender, release, convey, transfer, or alter,

directly or indirectly, any right, remedy, power, privilege, or interest with respect to any

property and, without limitation upon the foregoing, shall include the making, execution,

or delivery of any assignment, power, conveyance, check, declaration, deed, deed of trust,

power of attorney, power of appointment, bill of sale, mortgage, receipt, agreement,

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contract, certificate, gift, sale, affidavit, or statement; the making of any payment; the

setting off of any obligation or credit; the appointment of any agent, trustee, or fiduciary;

the creation or transfer of any lien; the issuance, docketing, filing, or levy of or under any

judgment, decree, attachment, injunction, execution, or other judicial or administrative

process or order, or the service of any garnishment; the acquisition of any interest of any

nature whatsoever by reason of a judgment or decree of any foreign country; the

fulfillment of any condition; the exercise of any power of appointment, power of attorney,

or other power; or the acquisition, disposition, transportation, importation, exportation, or

withdrawal of any security.

        31 C.F.R. § 595.313

        “Person” defined

        The term "person" means an individual or entity.

        31 C.F.R. § 595.309

        “Entity” defined

        The term "entity" means a partnership, association, corporation, or other

organization, group, or subgroup.

        31 C.F.R. § 595.303

        United States defined.

        The term United States means the United States, its territories and possessions, and

all areas under the jurisdiction or authority thereof.



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       31 C.F.R. § 595.314

       United States person/U.S. Person defined.

       The term United States person or U.S. person means any United States citizen,

permanent resident alien, entity organized under the laws of the United States or any

jurisdiction within the United States (including foreign branches); or any person in the

United States.

       31 C.F.R. § 595.315




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                Counts 14 through 25: The Nature of the Offense Charged

                         (Providing Funds, Goods and Services
                           to a Specially Designated Terrorist)
                      50 U.S.C. §§ 1701-1706, 31 C.F.R. § 595.201

       Each of the defendants is charged in Counts 14 through 25 with the offense of

providing funds, goods and services to a Specially Designated Terrorist in violation of

Title 50, United States Code, Sections 1701 through 1706 and Title 31, Code of Federal

Regulations Section 595.201. In pertinent part, Counts 14 through 25 read as follows:

On or about the dates listed below, for each count below, in the Dallas Division of the

Northern District of Texas and elsewhere, the defendants HLF, Shukri Abu Baker,

Mohammad El-Mezain, Ghassan Elashi, Haitham Maghawri, Akram Mishal, Mufid

Abdulqader and Abdulrahman Odeh, aided and abetted by each other and others known

and unknown to the Grand Jury, willfully contributed funds, goods and services to, or for

the benefit of, a Specially Designated Terrorist, namely HAMAS, by issuing and causing

to be issued wire transfers in the amounts indicated, from the HLF bank accounts in the

Northern District of Texas, to the following organizations, which operated on behalf of, or

under the control of, HAMAS:

     Count           Date           Amount               Organization

       14            10/20/98       $12,342              Ramallah Zakat Committee

       15            12/31/98       $50,000              Islamic Charity Society of Hebron

       16            12/31/98       $11,138              Nablus Zakat Committee



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       17            5/21/99        $4,230               Halhul Zakat Committee

       18            6/3/99         $8,408               Jenin Zakat Committee

       19            9/23/99        $12,308              Ramallah Zakat Committee

       20            9/23/99        $36,066              Islamic Charity Society of Hebron

       21            12/13/99       $8,049               Tolkarem Zakat Committee

       22            12/14/99       $12,570              Nablus Zakat Committee

       23            4/27/00        $20,500              Dar El Salam Hospital

       24            1/17/01        $10,494              Qalqilia Zakat Committee

       25            6/11/01        $6,225               Qalqilia Zakat Committee




               In violation of Title 50, United States Code, Sections 1701 through 1706;
Title 31, Code of Federal Regulations, Section 595.201 et. seq.; and Title 18, United States
Code, Section 2.




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             Counts 14 through 25: The Statute Defining the Offense Charged

                         (Providing Funds, Goods and Services
                           to a Specially Designated Terrorist)
                      50 U.S.C. §§ 1701-1706, 31 C.F.R. § 595.201

       The instructions that I read to you with regard to Count 13 also apply to Counts 14

through 25. The only difference is that while Count 13 charges each defendant with

conspiring or - agreeing with others - to provide funds, goods and services to a Specially

Designated Terrorist, namely, Hamas, Counts 14 through 25 charges each of the

defendants with the actual commission of the offense.

       The instructions I provided with regard to Count 13 for Executive Order 12947,

Section 1705(b) International Emergency Economic Powers Act (IEEPA) of Title 50,

United States Code, Sections 595.201(b), 595.204, 595.205 and Section 597.701(a)(2) of

Title 31, Code of Federal Regulations (CFR), apply equally to Counts 14 through 25.

       The definitions I provided with regard to Count 13 for “Specially Designated

Terrorist”, “transfer”, “United States” and “United States person/U.S. person” apply

equally to Counts 14 through 25. However, Counts 13 and Counts 14 through 25 are

separate charges and must be considered separately.




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          Counts 14 through 25: The Essential Elements of the Offense Charged

                         (Providing Funds, Goods and Services
                           to a Specially Designated Terrorist)
                      50 U.S.C. §§ 1701-1706, 31 C.F.R. § 595.201

       To establish a violation of these laws, the United States must prove beyond a

reasonable doubt each of the following elements as to each defendant:

       First:        That the defendant himself or, by aiding and abetting another

                     defendant or by being aided or abetted by another defendant,

                     contributed funds, goods, or services to, or for the benefit of a

                     Specially Designated Terrorist;

       Second:       that such funds, goods or services was in the United States, or

                     thereafter came within the United States, or thereafter came within

                     the possession or control of United States persons;

       Third:        That the defendant did so knowingly and willfully.




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                       Count 26: The Nature of the Offense Charged

                        (Conspiracy to Commit Money Laundering)
                                   18 U.S.C. § 1956(h)

        Each of the defendants is charged in Count 26 with the offense of conspiracy to

commit money laundering in violation of Title 18, United States Code, Section 1956(h).

In pertinent part, Count 26 reads as follows:

        Beginning from on or about January 25, 1995, and continuing until the date of the

Indictment, in the Dallas Division of the Northern District of Texas and elsewhere, the

defendants HLF, Shukri Abu Baker, Mohammad El-Mezain, Ghassan Elashi, Haitham

Maghawri, Akram Mishal, Mufid Abdulqader and Abdulrahman Odeh and others known

and unknown to the Grand Jury, in offenses involving interstate and foreign commerce,

transmitted and transferred, and attempted to transmit and transfer, funds from a place

within the United States, namely the Northern District of Texas, to places outside the

United States, including the West Bank and Gaza, and elsewhere, with the intent to

promote the carrying on of a specified unlawful activity, to wit, by contributing funds,

goods and services to, or for the benefit of, a Specially Designated Terrorist, namely

HAMAS, in violation of Title 50, United States Code, Sections 1701 through 1706

(IEEPA), and punishable under Section 206 of IEEPA (also known as Title 50, United

States Code, Section 1705(b)).




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                    Count 26: The Statute Defining the Offense Charged

                        (Conspiracy to Commit Money Laundering)
                                   18 U.S.C. § 1956(h)

        Title 18, United States Code, Section 1956(h), provides in relevant part that:

        Any person who conspires to commit the crime of money laundering as defined in

§ 1956(a)(2)(A)

is guilty of a crime.

        Title 18 United States Code, § 1956(a)(2)(A) provides in relevant part:

        Whoever transports, transmits, or transfers, or attempts to transport, transmit, or

transfer a monetary instrument or funds from a place in the United States to or through a

place outside the United States or to a place in the United States from or through a place

outside the United States

        (A) with the intent to promote the carrying on of specified unlawful activity

is guilty of a crime.




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                   Count 26: Essential Elements of the Offense Charged

                       (Conspiracy to Commit Money Laundering)
                                  18 U.S.C. § 1956(h)

       In order to find a defendant guilty of the offense, you must find each of the

following elements beyond a reasonable doubt:

       First, That two or more persons, in some way or manner, came to a mutual

       understanding to try to accomplish a common and unlawful plan to violate 18

       U.S.C. Section 1956, as charged in the indictment; and

       Second, That the Defendant, knowing the unlawful purpose of the plan, willfully

       joined in it;




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                Counts 27 through 38: The Nature of the Offense Charged

                                    Money Laundering
                                 18 U.S.C. § 1956(a)(2)(A)

        Each of the defendants is charged in Counts 27 through 38 with the offense of

money laundering in violation of Title 18, United States Code, Section 1956(a)(2)(A). In

pertinent part, Counts 27 through 38, in relevant parts, read as follows:

        On or about each of the dates set forth [in the indictment], for each count [in the

indictment], in the Dallas Division of the Northern District of Texas and elsewhere, the

defendants HLF, Shukri Abu Baker, Mohammad El-Mezain, Ghassan Elashi, Haitham

Maghawri, Akram Mishal, Mufid Abdulqader and Abdulrahman Odeh, aided and abetted

by each other and others known and unknown to the Grand Jury, in offenses involving

interstate and foreign commerce, transmitted and transferred, and attempted to transmit

and transfer, funds in the amounts indicated [in the indictment], from a place within the

United States, namely the Northern District of Texas, to places outside the United States,

including the West Bank and Gaza, and elsewhere, with the intent to promote the carrying

on of a specified unlawful activity, to wit, by willfully contributing funds, goods and

services to, or for the benefit of, a Specially Designated Terrorist, namely HAMAS, in

violation of Title 50, United States Code, Sections 1701 through 1706 (IEEPA), and

punishable under Section 206 of IEEPA (also known as Title 50, United States Code,

Section 1705(b)):

in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and (2).

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             Counts 27 through 38: The Statute Defining the Offense Charged
                                   Money Laundering
                               18 U.S.C. § 1956(a)(2)(A)

Title 18 United States Code, § 1956(a)(2)(A) provides in relevant part:

        Whoever transports, transmits, or transfers, or attempts to transport, transmit, or

transfer a monetary instrument or funds from a place in the United States to or through a

place outside the United States or to a place in the United States from or through a place

outside the United States

        (A) with the intent to promote the carrying on of specified unlawful activity

is guilty of a crime.




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         Counts 27 through 38: The Essential Elements of the Offense Charged

                                   Money Laundering
                                18 U.S.C. § 1956(a)(2)(A)

       In order to find a defendant guilty of the offense, you must find each of the

following elements beyond a reasonable doubt:

       First, That the Defendant knowingly transported transmitted, transferred a

       monetary instrument or funds from a place in the United States to or through a

       place outside the United States or to a place in the United States from or through a

       place outside the United States or attempted to do so; and

      Second, That the Defendant engaged in the attempted transportation, transmission

      or transfer with the intent to promote the carrying on of "specified unlawful

      activity."




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                         Counts 26 and 27 through 38: Definitions

        The term "transports, transmits, or transfers" includes all means of carrying,

sending, mailing, shipping or moving funds. Thus, it includes the electronic transfer of

funds by wire or computer or other means including any physical means of transporting or

transferring funds. It makes no difference whether the monetary instrument or funds

attempted to be transported, transmitted, or transferred is derived from criminal activity or

not. It could be legitimately earned income.

        The term "monetary instrument" includes the coin or currency of any country,

travelers or personal checks, bank checks or money orders, or investment securities or

negotiable instruments in such form that title passes upon delivery.

        The term "specified unlawful activity" means violations of the International

Emergency Economic Powers Act (IEEPA) including willfully contributing funds, goods

and services to, or for the benefit of, a Specially Designated Terrorist, such as HAMAS

        The term "with the intent to promote the carrying on of specified unlawful

activity" means that the Defendant must have conducted or attempted to conduct the

financial transaction for the purpose of facilitating or making easier or helping to bring

about the "specified unlawful activity" as just defined.

        To "attempt" an act simply means to intentionally take some substantial step

toward the accomplishment of the act so that, except for interruption or frustration, the act

would have occurred.



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                      Count 39: The Nature of the Offense Charged

           Conspiracy to impede and impair the Internal Revenue Service and
            to File False Return of Organization Exempt from Income Tax,

                                      18 U.S.C. § 371

       The defendants Shukri Abu Baker and Ghassan Elashi are charged in Count 39

with the offense of conspiracy to impede and impair the Internal Revenue Service and to

File False Return of Organization Exempt from Income Tax, in violation of Title 18

U.S.C. § 371

       In pertinent part, Counts 39 reads as follows:

       In or around and between January 1990 and continuing until the date of the

Indictment, in the Dallas Division of the Northern District of Texas and elsewhere, the

defendants Shukri Abu Baker and Ghassan Elashi, and others known and unknown to the

Grand Jury, did knowingly and willfully combine, conspire, confederate and agree

together with themselves and others

       a. to defraud the United States of America and the Internal Revenue Service

       (“IRS”), an agency thereof, by impeding, impairing, defeating and obstructing the

       lawful governmental functions of the IRS in the ascertainment, evaluation,

       assessment and collection of corporate income taxes, in violation of Title 18,

       United States Code, Section 371; and

       b. to willfully make and subscribe, and aid and assist in the preparation and

       presentation of, United States Returns of Organization Exempt from Income Tax,

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      Form 990, which were verified by written declarations that they were made under

      the penalties of perjury and were filed with the IRS, which returns they did not

      believe to be true and correct as to every material matter in that the returns

      reported payments to Program Services when in fact the payments were going to

      HAMAS, in violation of Title 26, United States Code, Section 7206(1).




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                      Count 39: The Statute Defining the Offense Charged

             Conspiracy to impede and impair the Internal Revenue Service and
              to File False Return of Organization Exempt from Income Tax,

                                       18 U.S.C. § 371


        Title 18, United States Code, § 371 provides in pertinent part:

        If two or more persons conspire either to commit any offense against the United

States, or to defraud the United States, or any agency thereof in any manner or for any

purpose, and one or more of such persons do any act to effect the object of the conspiracy,

each shall be . . .

        guilty of a crime.




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                 Count 39: The Essential Elements of the Offense Charged

             Conspiracy to impede and impair the Internal Revenue Service and
              to File False Return of Organization Exempt from Income Tax,

                                     18 U.S.C. § 371


       To establish a violation of 18 U.S.C. § 371, the following elements must be proved

beyond a reasonable doubt:

       First: The existence of an agreement by two or more persons to defraud the United

       States of America and the Internal Revenue Service (“IRS”), an agency thereof,

       by impeding, impairing, defeating and obstructing the lawful governmental

       functions of the IRS in the ascertainment, evaluation, assessment and collection of

       corporate income taxes;

       Second: The defendant's knowing and voluntary participation in the conspiracy;

       and

       Third: The commission of an overt act in furtherance of the conspiracy.




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                Counts 40 through 42: The Nature of the Offense Charged

                                  Filing a False Tax Return

                                    26 U.S.C. § 7206(1)

        The defendant Shukri Abu Baker is charged in Count 40 and the defendant

Ghassan Elashi is charged in Counts 41 and 42 with the offense of filing a false tax return

in violation of Title 26, United States Code, Section 7206(1). In pertinent part, Counts 40

through 42, in relevant parts, read as follows:

        On or about the dates specified below, in the Dallas Division of the Northern

District of Texas and elsewhere, the defendants as listed below, did knowingly and

willfully make and subscribe United States Returns of Organizations Exempt from Income

Tax, Form 990, for the HLF, for the years listed below, which were verified by written

declarations that they were made under the penalties of perjury and were filed with the

Internal Revenue Service, which informational tax returns each defendant did not believe

to be true and correct as to every material matter in that the returns reported payments to

Program Services on Line 13 of said returns, whereas each defendant then and there well

knew and believed the payments were not used for program services as required by their

501(c)(3) status:

        Count         Year           Date filed         Defendant

         40           1998           3/11/99            Shukri Abu Baker
         41           1999           5/8/00             Ghassan Elashi
         42           2000           8/7/01             Ghassan Elashi



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              Counts 40 through 42: The Statute Defining the Offense Charged

                                 Filing a False Tax Return
                                    26 U.S.C. § 7206(1)


Title 26 United States Code, § 7206(1) provides in relevant part:

        Any person who willfully makes and subscribes any return, statement, or other

document, which contains or is verified by a written declaration that it is made under the

penalties of perjury, and which he does not believe to be true and correct as to every

material matter . . .

        is guilty of a crime.




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           Counts 40 through 42: The Essential Elements of the Offense Charged

                                     Filing a False Tax Return
                                        26 U.S.C. § 7206(1)

        In order to find a defendant guilty of the offense, you must find each of the

following elements beyond a reasonable doubt:

        First: That the defendant signed an income tax return that contained a written

        declaration that it was made under penalties of perjury;

        Second: That in this return the defendant falsely stated that the payments shown

        were going to Program Services when in the fact the payments were going to

        Hamas;

        Third: That the defendant knew the statement was false;

        Fourth: That the false statement was material; and

        Fifth: That the defendant made the statement willfully, that is, with intent to

        violate a known legal duty.

        A statement is "material" if it has a natural tendency to influence, or is capable of

influencing, the Internal Revenue Service in investigating or auditing a tax return or in

verifying or monitoring the reporting of income or expenditures by a taxpayer.

        To be "material" it is not necessary that the statement or representation, in fact,

influence or deceive.

O’Malley, Grenig, and Lee, Federal Jury Practice And Instructions (5th ed. 2005), Section 16.11


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                              Proof of Tax Deficiency Not Required

         You are instructed that in proving that the defendant violated Section 7206(1), the

government does not have to prove that there was a tax due and owing for the year(s) in

issue. Whether the government has or has not suffered a pecuniary or monetary loss as a

result of the alleged return is not an element of Section 7206(1).



Devitt, Blackmar and O'Malley, Federal Jury Practice and Instructions, (4th Ed. 1990), Section 56.19




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                                     Subscribed -- Defined

        The word "subscribe" simply means the signing of one's name to a document.

                                   Proof of Signing of Return

"The fact that an individual's name is signed to a return shall be prima facie evidence for

all purposes that the return was actually signed by him," which is to say that, unless and

until outweighed by evidence in the case which leads you to a different or contrary

conclusion, you may find that a filed tax return was in fact signed by the person whose

name appears to be signed to it.

26 U.S.C. § 6064




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                                Corporate Defendant/Agency

        One of the defendants in this case, Holy Land Foundation for Relief and

Development, also known as HLF is a private corporation which is the same as or

equivalent to a closely held corporation. The Holy Land Foundation for Relief and

Development has been charged along with certain of the other defendants in Counts 1

through 38. A corporation, or its equivalent, is a legal entity, and may be found guilty of a

criminal offense just like a natural person.

        Of course, a private company or a corporation can only act through its agents; that

is, its directors, officers, and employees or other persons authorized to act for it. A

corporation or its equivalent is legally responsible for those acts or omissions of its agents

made or performed in the course of their employment.

        Thus, before you may find the HLF guilty, you must find that the government has

proven beyond a reasonable doubt that all of the elements of the offense, as I will explain

them to you, have been met with respect to the HLF in the form of acts or omissions of its

agents which were performed within the scope of their employment.

        To be "acting within the scope of one's employment" may be shown in several

ways. First, if the act or omission was specifically authorized by the corporation, it would

be within the scope of the agent's employment.

        Second, even if the act or omission was not specifically authorized, it may still be

within the scope of an agent's employment if both of the following have been proven: that



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the agent intended that his act would produce some benefit to the corporation, and that the

agent was acting within his authority. An act is within an agent's authority if it was

directly related to the performance of the kind of duties that the agent had the general

authority to perform.

        If you find that the agent was acting within the scope of his employment, the fact

that the agent's act was illegal, contrary to his employer's instructions, or against the

corporation's policies will not relieve the corporation of responsibility for it. However,

you may consider the fact that the agent disobeyed instructions or violated company policy

in determining whether the agent intended to benefit the corporation, or was acting within

this authority.

        Finally, if you find that the agent was not acting within the scope of his authority at

the time, you should then consider whether the corporation later approved the act. An act

is approved after it is performed when another agent of the corporation having full

knowledge of the act, and acting within the scope of his employment as I have just

explained it to you, approves the act by his or her words or conduct. A corporation is

responsible for any act or omission approved by its agents in this manner.




                                             Note

1 L.B. Sand, et al., Modern Federal Jury Instructions: Criminal, Instruction 2-7 (1993).
McFadyean, Colin, The American Close Corporation and Its British Equivalent, 14 Bus.
Law 215 (1958). Black's Law Dictionary, Fifth Edition (1979) p. 836.



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                                   Consciousness of Guilt

        Conduct of the defendant, including statements knowingly made and acts

knowingly done upon being confronted with evidence of a possible crime, may be

considered by you in the light of all other evidence in the case in determining guilt or

innocence.

        When the defendant voluntarily and intentionally offers an explanation to others in

or out of court, or makes some statement tending to show his innocence -- and this

explanation or statement is later shown to be false in whole or in part, the jury may

consider whether this evidence points to what we call a "consciousness or guilt."

Ordinarily, it is reasonable to infer that an innocent person does not usually find it

necessary to invent or fabricate an explanation or statement tending to establish his

innocence.

        Whether or not evidence as to the defendant's voluntary explanation or statement

points to a consciousness of guilt, and the significance to be attached to any such evidence,

are matters exclusively within the province of the jury.




                                             Note

Devitt and Blackmar, Federal Jury Practice and Instructions, § 15.12 (3d ed. 1977);
United States v. Sutherland, 428 F.2d 1152, 1157 (5th Cir. 1970), app. after remand, 463
F.2d 641, cert. denied, 409 U.S. 1078 (1973).




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                                   Similar Acts Evidence
                                   (Rule 404(b), FRE)

       During the course of the trial, as you know from the instructions I gave you then,

you heard evidence of acts of the Defendants which may be similar to those charged in the

indictment, but which were committed on other occasions. You must not consider any of

this evidence in deciding if the Defendant in question committed the acts charged in the

indictment. However, you may consider this evidence for other, very limited, purposes.

If you find beyond a reasonable doubt from other evidence in this case that the Defendants

did commit the acts charged in the indictment, then you may consider evidence of the

similar acts allegedly committed on other occasions to determine whether the Defendant

had the state of mind or intent necessary to commit the crime charged in the indictment

or whether the Defendant acted according to a plan or in preparation for commission of a

crime or whether the Defendant committed the acts for which the Defendant is on trial by

accident or mistake.




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ANNOTATIONS AND COMMENTS

Rule 404. [FRE] Character Evidence Not Admissible To Prove
Conduct; Exceptions; Other Crimes

(b) Other crimes, wrongs, or acts. Evidence of other crimes, wrongs, or acts is not admissible to prove the
character of a person in order to show action in conformity therewith. It may, however, be admissible for
other purposes, such as proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or
absence of mistake
or accident, provided that upon request by the accused, the prosecution in a criminal case shall provide
reasonable notice in advance of trial, or during trial if the court excuses pretrial notice on good cause
shown, of the general nature of any such evidence it
intends to introduce at trial.

United States v. Beechum, 582 F.2d 898 (5th Cir. 1978) (en banc) cert. denied, 440
U.S. 920, 99 S.Ct. 1244, 59 L.Ed.2d 472 (1979), discusses at length the tests to be
applied in admitting or excluding evidence under Rule 404(b); and, more specifically, the different
standards that apply depending upon the purpose of the evidence, i.e., to show intent versus identity, for
example. See note 15 at pages 911-912. Beechum also approves a limiting instruction similar to this one.
See note 23 at pages 917-918.

Both the Supreme Court and the Eleventh Circuit have expressly endorsed the Beechum test. Huddleston
v. United States, 485 U.S. 681, 108 S.Ct. 1496, 99 L.Ed.2d 771 (1988); United States v. Miller, 959 F.2d
1535 (11th Cir. 1992) (en banc), cert. denied, 506 U.S. 942, 113 S.Ct. 382, 121 L.Ed.2d 292 (1992).




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